Case: 21-1876   Document: 33     Page: 1   Filed: 11/09/2021




           NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                 ______________________

  MITSUBISHI TANABE PHARMA CORPORATION,
  JANSSEN PHARMACEUTICALS, INC., JANSSEN
 PHARMACEUTICA NV, JANSSEN RESEARCH AND
       DEVELOPMENT LLC, CILAG GMBH
              INTERNATIONAL,
               Plaintiffs-Appellees

                            v.

      ZYDUS PHARMACEUTICALS (USA) INC.,
               Defendant-Appellant
              ______________________

                       2021-1876
                 ______________________

     Appeal from the United States District Court for the
 District of New Jersey in No. 3:17-cv-05319-FLW-DEA,
 Judge Freda L. Wolfson.
                 ______________________

                     ON MOTION
                 ______________________

    Before O’MALLEY, STOLL, and CUNNINGHAM, Circuit
                        Judges.
 O’MALLEY, Circuit Judge.
                       ORDER
Case: 21-1876      Document: 33      Page: 2    Filed: 11/09/2021




 2            MITSUBISHI TANABE PHARMA CORPORATION v. ZYDUS
                                  PHARMACEUTICALS (USA) INC.


      The parties jointly move to remand this case to the dis-
 trict court for modification of the final judgment orders
 dated March 23, 2021 and April 5, 2021, consistent with
 the district court’s indicative ruling of September 1, 2021.
       Upon consideration thereof,
       IT IS ORDERED THAT:
     (1) The motion is granted. The case is remanded to the
 district court for modification of the final judgment orders
 consistent with the district court’s indicative ruling and
 this order.
       (2) The parties shall bear their own costs.
                                     FOR THE COURT

        November 09, 2021            /s/ Peter R. Marksteiner
             Date                    Peter R. Marksteiner
                                     Clerk of Court
 s28

 ISSUED AS A MANDATE: November 09, 2021
